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                                                                                January 23, 2024

BY ECF

Honorable Sarah L. Cave
United States Magistrate Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

         Re:       Bennett v. Cuomo, et al., No. 22 Civ. 7846 (VSB) (SLC)

Dear Judge Cave:

        We write pursuant to the Court’s Individual Practice II(C)(2) to request another discovery
conference regarding Governor Cuomo’s subpoenas to nonparty Lindsey Boylan. In the January
4, 2024 Order concerning those subpoenas, the Court held that Governor Cuomo had not yet
established that certain requests were “relevant and proportional to the needs of this case.” ECF
No. 164. In so concluding, the Court did not have an opportunity to consider additional information
we recently received from Plaintiff Charlotte Bennett during discovery in this case. ECF No. 163.

        As explained further below, Ms. Boylan is a critical witness for Governor Cuomo’s defense
because Ms. Bennett’s story around her interactions with Governor Cuomo shifted dramatically
after Ms. Bennett began communicating with Ms. Boylan in early December 2020. Ms. Boylan
lied about her own experiences to cajole others, including Ms. Bennett, to join Ms. Boylan’s public
attacks on Governor Cuomo. It is crucial that Governor Cuomo obtain evidence concerning Ms.
Boylan’s false allegations to establish that Ms. Boylan used those falsehoods to manipulate Ms.
Bennett.

        In her Complaint, Ms. Bennett spins a false narrative about her experience working in the
Executive Chamber, including that: (1) Governor Cuomo’s attention made her “uncomfortable,”
see, e.g., ECF No. 1 at ¶ 23; (2) Governor Cuomo pressured her into discussing her alleged sexual
assault experiences, see, e.g., id. ¶¶ 2, 44-50; (3) she was unhappy with her job because it was a
hostile work environment, see, e.g., id. ¶ 2; (4) she sought a transfer because Governor Cuomo
was sexually harassing her, see, e.g., id. ¶¶ 3, 81-82, 84; and (5) the transfer was to an “inferior”
position and was involuntary, see, e.g., id. ¶¶ 3, 82. These allegations are not true.

      Discovery, including contemporaneous video recordings by Ms. Bennett1 – recordings that
Ms. Bennett did not disclose to the OAG during the investigation – refute Ms. Bennett’s sexual

1
  Documents referenced in this letter are attached hereto. Videos referenced in this letter may be accessed at the
following link:
(“Video Link”). We note that Ms. Bennett designated the videos, which she produced without dates, as Confidential.
We dispute that the videos are entitled to such protection, at least in their entirety. The videos cited in this letter, while
they undercut Ms. Bennett’s claims, contain minimal confidential personally sensitive information. Thus, while we
are filing the information under seal, we respectfully request that the Court direct us to file an unredacted version of

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                                        Respectfully submitted,

                                        /s/ Theresa Trzaskoma

                                        Theresa Trzaskoma

Attachments
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

  ----------------------------------------------------------X
  TROOPER 1,

                                    Plaintiff,
                                                                 DISCOVERY ORDER
                     -against-                                   22-CV-893 (LDH) (TAM)
                                                                23-MC-1587 (LDH) (TAM)
   NEW YORK STATE POLICE and
   ANDREW CUOMO,

                                     Defendants.
  ----------------------------------------------------------X
  TARYN A. MERKL, United States Magistrate Judge:

           On February 17, 2022, Trooper 1 (“Plaintiff”), a member of former New York

   Andrew Cuomo’s Protective Service Unit (“PSU”), initiated this action alleging that

   former Cuomo sexually harassed her and other state employees. (See Compl., ECF No.

   1, Docket No. 22-CV-893.) The amended complaints named as Defendants the New

   York State Police (“NYSP”), former Andrew Cuomo (“Cuomo”), Melissa DeRosa

   (“DeRosa”), and Richard Azzopardi (“Azzopardi”) (collectively referred to as

   “Defendants”). (See First Am. Compl. (“FAC”), ECF No. 7; Second Am. Compl.

   (“SAC”), ECF No. 71.) This Order assumes familiarity with the factual and procedural

   history of this case.

           On January 11, 2024, the Court held a motion hearing on myriad discovery

   disputes concerning two non-party witnesses, Lindsey Boylan and Charlotte Bennett,

   related to various motions to compel and quash, and a motion for a protective order

   filed by Plaintiff, seeking to quash certain subpoenas due to concerns based on Federal

   Rule of Evidence 412. Following oral argument, the Court orders as follows with regard

   to the various motions and disputes relevant to Ms. Boylan.
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   I. Legal Standard

      A. Relevance & Proportionality

          Federal Rule of Civil Procedure 26(b)(1), as amended on December 1, 2015,

   recognizes that “[i]nformation is discoverable . . . if it is relevant to any party’s claim or

   defense and is proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1) advisory

   committee’s note to 2015 amendment; see Sibley v. Choice Hotels Int'l, No. 14-CV-634 (JS)

   (AYS), 2015 WL 9413101, at *2 (E.D.N.Y. Dec. 22, 2015) (observing that “the current

   version of Rule 26 defines permissible discovery to consist of information that is, in

   addition to being relevant ‘to any party’s claim or defense,’ also ‘proportional to the

   needs of the case’”) (citation omitted); see also Robertson v. People Magazine, No. 14-CV-

   6759 (PAC), 2015 WL 9077111, at *2 (S.D.N.Y. Dec. 16, 2015) (“[T]he 2015 amendment [to

   Rule 26] does not create a new standard; rather it serves to exhort judges to exercise

   their preexisting control over discovery more exactingly.”). The Court has “broad

   discretion” in determining relevance for discovery purposes. Michael Kors, L.L.C. v. Su

   Yan Ye, No. 18-CV-2684 (KHP), 2019 WL 1517552, at *2 (S.D.N.Y. Apr. 8, 2019). The

   Court also “has wide latitude to determine the scope of discovery.” Broidy Capital Mgmt.

   LLC v. Benomar, 944 F.3d 436, 446 (2d Cir. 2019) (quotation marks omitted); see In re

   Mirena IUS Levonorgestrel-Related Prods. Liab. Litig. (No. II), 982 F.3d 113, 125 (2d Cir.

   2020) (recognizing courts have “broad discretion in managing discovery”). “The party

   seeking discovery must make a prima facie showing that the discovery sought is more

   than merely a fishing expedition.” Perry v. The Margolin & Weinreb Law Group LLP, No.

   14-CV-3511 (JS) (AKT), 2015 WL 4094352, at *2 (E.D.N.Y. July 7, 2015).

          Federal Rule of Civil Procedure 45(d)(2)(B)(i) provides, in pertinent part, that “on

   notice to the commanded person, the serving party may move the court . . . for an order



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   compelling production or inspection” pursuant to a subpoena. Subsection B of Rule

   45(d)(2) further provides that “[t]hese acts may be required only as directed in the

   order, and the order must protect a person who is neither a party nor a party’s officer

   from significant expense resulting from compliance.” Fed. R. Civ. P. 42(d)(2)(B)(ii). At

   the same time, Rule 45 provides that on a timely motion, “the court for the district

   where compliance is required must quash or modify a subpoena” if it “subjects a person

   to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iv). The movant bears the burden of

   persuasion in a motion to quash a non-party subpoena. United States v. Int'l Bus. Mach.

   Corp., 83 F.R.D. 97, 104 (S.D.N.Y. 1979).

          Under Rule 45, a subpoena should be quashed where it “requires disclosure of

   privileged or other protected matter” or “subjects a person to undue burden.” Fed. R.

   Civ. P. 45(d)(3)(A)(iii)–(iv). To determine whether a subpoena imposes an undue

   burden, “courts weigh the burden to the subpoenaed party against the value of the

   information to the serving party by considering factors such as relevance, the need of

   the party for the documents, the breadth of the document request, the time period

   covered by it, the particularity with which the documents are described and the burden

   imposed.” Citizens Union of City of New York v. Att’y Gen. of New York, 269 F. Supp. 3d

   124, 138 (S.D.N.Y. 2017) (quotation marks omitted). Here, the Court takes special notice

   of the fact that Ms. Boylan is not a party to this case in considering the proportionality

   of the discovery requests made of her and regarding her. Cf. Henry v. Bristol Hosp., Inc.,

   No. 13-CV-826 (SRU), 2020 WL 1158464, at *1 (D. Conn. Mar. 10, 2020) (“[C]ourts give

   special weight to the burden on non-parties of producing documents to parties involved

   in litigation.” (quotation marks and alteration omitted)).




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      B. Rule 412

          Federal Rule of Evidence 412 prohibits the admission of evidence “in a civil or

   criminal proceeding involving alleged sexual misconduct” that is “offered to prove that

   a victim engaged in other sexual behavior.” Fed. R. Evid. 412(a)(1). The rule provides an

   exception in civil cases where the “probative value [of the evidence] substantially

   outweighs the danger of harm to any victim and of unfair prejudice to any party.” Id. at

   (b)(2). Courts must consider Rule 412 during discovery. Cf. Hughes v. Twenty-First

   Century Fox, Inc., 327 F.R.D. 55, 58–59 (S.D.N.Y. 2018) (noting that Courts “must balance

   [the Rule 26 discovery] standard with Rule 412” and quashing a non-party subpoena

   seeking evidence related to prior sexual history).

   II. Motions1

          Non-party Lindsey Boylan has filed two motions to quash. The first, ECF No. 16,

   Docket No. 23-MC-1587, seeks to quash a document subpoena and notes that Ms.

   Boylan and Defendant Cuomo agreed to defer discussion about a deposition subpoena

   (referred to herein as the “Boylan Document Subpoena” and the “Boylan Deposition

   Subpoena”). The second, ECF No. 86, Docket No. 22-CV-893, seeks to quash four

   document subpoenas (the “Additional Non-party Subpoenas”): (1) to the Empire State

   Development Corporation (“ESDC”); (2) to the New York State Executive Chamber;

   (3) to Howard Zemsky; and (4) to Elizabeth Fine. Relatedly, Plaintiff Trooper 1 has filed

   a motion for a protective order (the “Trooper 1 Motion”) concerning various of the

   subpoenas related to Ms. Boylan as well as subpoenas related to non-party Charlotte




          The requests made in the relevant contested document subpoenas are listed in the
          1

   Appendix.


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   Bennett. Trooper 1’s basis for her motion is that the subpoenas seek irrelevant evidence

   that is impermissible under Rule 412.

      A. Boylan Document Subpoena

          As to the Boylan Document Subpoena (ECF No. 18-5, No. 23-MC-1587), the court

   finds as follows:

          1) Document Request 1(b),2 which seeks all documents “concerning . . . (b) any

   allegations of sexual harassment or other misconduct [Ms. Boylan] ha[s] made against

   Cuomo” seeks discovery that is relevant and proportional to the needs of the case,

   limited to the time period from 2016 through March 30, 2023, the date of the subpoena.

   Similarly, the Court finds that Document Requests 11 and 16 are relevant and

   proportional, subject to the same date limitations, and that Ms. Boylan should search for

   and produce documents and other information responsive to these requests.

          2) As to Document Requests 2 and 3, which request, respectively, all documents

   concerning the OAG Investigation and the AJC Investigation, Ms. Boylan has already

   produced the request she received from the OAG, and the documents she provided in

   response. Ms. Boylan is directed to search for and produce any requests she received

   from the AJC. As to any other documents and/or correspondence that could be covered

   by this request, Cuomo has not established sufficient relevance and proportionality at

   this time to require any additional searching and production given the burden that

   would impose on Ms. Boylan, a non-party.




          2
            The Court notes, however, that Document Request 1 is vague and overbroad insofar as
   it requests “[a]ll documents concerning (a) any of Your personal interactions with Governor
   Cuomo . . . .” (ECF No. 18-5, No. 23-MC-1587, Request No. 1(a).) Accordingly, Ms. Boylan is not
   required to search for or produce documents as to subcategory (a) of Request 1.


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         3) As to Document Request 4, which requests “[a]ll documents reflecting any

   communications” between Ms. Boylan and the news media, the Court finds that

   searching for documents and information responsive to this request would impose a

   significant burden on Ms. Boylan, as to which Cuomo has not, at this time, established

   relevance and proportionality. Additionally, to the extent Ms. Boylan’s allegations to

   media outlets have been published in the media, Cuomo already has access to that

   information.

         4) As to Document Request 5, which requests “all documents reflecting

   communications with the Executive Chamber or any of its current or former

   employees,” concerning Cuomo, “with the Executive Chamber or any of its current or

   former employees,” the Court finds that the request is substantially overbroad in that it

   requests “all documents reflecting communications” and includes both a specific list of

   individuals and an unbounded list of potential employees. Attempting to search for and

   produce documents in response would impose a significant undue burden on Ms.

   Boylan. At this time, Cuomo has not established relevance and proportionality as to a

   large swath of the information that would be included in this broad request.

   Accordingly, the Court narrows this request to allow discovery into documents that

   reflect communications with other complainants regarding allegations of sexual

   harassment or other misconduct against Cuomo and any investigations into Cuomo, for

   the time period from December 1, 2020, through February 2022; as noted above, this

   case was filed in February 2022.

         5) As to Document Request 7, which requests all communications with Karen

   Hinton concerning Cuomo, the Court notes that Ms. Hinton already provided some of

   these communications in response to a subpoena, and the Court finds that Cuomo has



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   established relevance. Given the relatively low burden of this request, the Court directs

   Ms. Boylan to search for and produce responsive documents.

          6) At this time, Cuomo has not established that the following requests are

   relevant and proportional to the needs of this case: Request Nos. 6,3 8–10, 12–15.

      B. Boylan Deposition Subpoena

          As to the Boylan Deposition Subpoena (ECF No. 18-6, No. 23-MC-1587), the

   Court notes that Ms. Boylan has not yet made a formal motion to quash the Boylan

   Deposition Subpoena. The Court finds that, based on the present record and the parties’

   initial disclosures, a deposition of Ms. Boylan is relevant and proportional to the needs

   of the case. Any determination by the Court, however, as to the timing of the deposition

   is deferred to a date following completion of party discovery, including documentary

   discovery and both party depositions, as well as Ms. Boylan’s compliance with the

   Boylan Document Subpoena consistent with the findings herein.

      C. Additional Non-party Subpoenas

          The Additional Non-party Subpoenas broadly seek production of the following

   categories of information: (1) information regarding a relationship between Ms. Boylan

   and Mr. Zemsky; (2) information regarding contributions by Mr. Zemsky or his family

   members to Ms. Boylan’s political campaigns; (3) information regarding Ms. Boylan’s

   performance at work, including complaints received and information about the end of



          3
            As to Document Request 6, which concerns “[a]ll documents” related to a published
   essay by Ms. Boylan in Medium, “including all non-privileged drafts and communications,” the
   Court finds that Cuomo has failed to establish that this request is proportional to the needs of
   the case at this time. The Court further finds that this request is burdensome and is of marginal
   relevance. This finding also attends to the other subpoenas that seek documents related to this
   essay, as noted infra.




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   her employment with New York State; (4) information regarding the OAG and AJC

   investigations; and (5) information regarding Ms. Boylan’s allegations of sexual

   harassment or misconduct against Mr. Cuomo.

          1. The ESDC Subpoena

          The document subpoena to the ESDC (ECF No. 88-5, No. 22-CV-893) makes 10

   requests, many of which overlap with the Zemsky Subpoena, as detailed below. The

   motion presently pending before the Court as to this subpoena, which was brought by

   Ms. Boylan, is construed solely as a motion to quash those document requests that seek

   information regarding her.

          1) Document Requests 1 through 3 seek discovery that is relevant and

   proportional to the needs of the case, limited to the time period from March 1, 2020

   through March 30, 2023.

          2) Request 10 seeks various categories of documents and communications,

   including documents and communications regarding Ms. Boylan’s relationship with

   Mr. Zemsky, and the events of January 2018, including meetings with Alphonso David.4

   Ms. Boylan objects to the requests as the information sought touches upon her privacy

   interests. At this juncture, Cuomo has failed to establish relevance and proportionality

   as to these requests. The Court further notes that Cuomo has ample information for

   cross-examination of Ms. Boylan regarding the circumstances of her leaving her




          4
             In addition to the lack of relevance and proportionality for these requests, discovery
   demands related to Ms. Boylan’s relationship with Mr. Zemsky implicate Rule 412, and Cuomo
   has not demonstrated that the probative value outweighs the potential harm to Ms. Boylan, a
   non-party. See Fed. R. Evid. 412(a)–(b). Moreover, as demonstrated throughout the papers and
   at oral argument, Cuomo already has substantial information regarding this alleged
   relationship. Additional discovery into this collateral issue is cumulative and disproportionate
   on the present record.


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   employment at the ESDC and, if deemed relevant at trial should Ms. Boylan be a

   witness, her relationship with Mr. Zemsky.

          3) At this juncture, Cuomo has failed to establish relevance and proportionality

   as to Document Requests 4 through 9 in the ESDC Subpoena.5

          2. The Executive Chamber Subpoena

          The document subpoena to the New York State Executive Chamber (ECF No. 88-

   6, No. 22-CV-893) includes 15 total requests, many of which overlap with other

   subpoenas. At oral argument, counsel for Cuomo advised that the Executive Chamber

   has begun production on the subpoena, but not as to the items that include requests for

   information as to Ms. Boylan. The Court’s findings below only address the document

   requests that seek information regarding Ms. Boylan.

          1) Document Request 4(b) is relevant specifically as to communications by or

   with Ms. Boylan making allegations of sexual harassment or any other misconduct by

   Cuomo. There is no basis to quash this request.

          2) Document Request 6, which seeks communications between Ms. Boylan and

   Cuomo, is relevant, and necessarily includes communications that could not be subject

   to any privacy protections since any communications in the Executive Chamber’s

   possession would have been made in connection with Ms. Boylan’s and Cuomo’s public

   service positions. Accordingly, the Court does not find a basis on the present record to

   deny discovery as to this request.



          5
            To the extent these requests also seek information as to sexual behavior, they implicate
   Rule 412. See note 4, supra. Additionally, Ms. Boylan has a clear privacy interest in her personnel
   files, which are implicated by Requests 5–9. Cf. Ireh v. Nassau Univ. Med. Ctr., No. 6-CV-9 (LDW)
   (AKT), 2008 WL 4283344, at *3 (E.D.N.Y. Sept. 17, 2008) (“Plaintiff may assert a privacy interest
   in his personnel files, though they are in possession of his former employer.” (quotation marks
   and alterations omitted)).


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          3) As to Document Requests 5 and 7, to the extent each of these requests seek

   documents and communications regarding Ms. Boylan’s relationship with Howard

   Zemsky and the events of January 2018, Cuomo has failed to establish relevance and

   proportionality as to those aspects of these requests.

          4) At this juncture, Cuomo has failed to establish relevance and proportionality

   as to Requests 8 through 14.

          3. The Howard Zemsky Subpoena

          The document subpoena to Mr. Zemsky (ECF No. 88-7, No. 22-CV-893) seeks one

   category of information that is relevant and proportional to the discovery needs in this

   case, i.e., Request No. 6, which seeks “[a]ll Documents or Communications concerning

   the OAG Investigation, OAG Report, AJC Investigation, and AJC Report, including any

   documents you provided to the OAG or AJC.” At this juncture, Cuomo has failed to

   establish relevance and proportionality as to the remaining requests in the document

   subpoena to Mr. Zemsky.6

          4. The Elizabeth Fine Subpoena

          At this time, Cuomo has not established that the Elizabeth Fine requests (see ECF

   No. 88-8, No. 22-CV-893) are relevant and proportional to the needs of this case.

      D. Trooper 1 Motion

          As to Lindsey Boylan, the Trooper 1 Motion sought to quash (1) the Boylan

   Document Subpoena and the Boylan Deposition Subpoena (see ECF No. 82, No. 22-CV-

   893; ECF No. 82-3, at ECF pp. 3, 13); (2) the Zemsky Subpoena (ECF No. 82-6); (3) a

   document subpoena to “Lindsey for New York” (ECF No. 82-7), seeking documents or



          6
           To the extent these requests also seek information as to sexual behavior, they implicate
   Rule 412. See note 4, supra.


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   communications related to an essay Ms. Boylan published in February 2021 in Medium

   (including drafts of the essay), communications with a number of individuals

   concerning allegations of sexual assault or other misconduct made against Cuomo,

   documents or communications concerning fundraising by Ms. Boylan’s campaign

   related to allegations of sexual harassment or other misconduct against Cuomo, and

   documents reflecting communications between “Lindsey for New York” and media

   outlets or journalists related to allegations of sexual harassment or other misconduct

   against Cuomo; (4) the Executive Chamber Subpoena (ECF No. 82-8); (5) a document

   subpoena to Verizon (ECF No. 82-9) for phone records related to Ms. Boylan’s

   telephone number, seeking all records and information from January 1, 2020, through

   the date of the subpoena; and (6) a document subpoena to Cade Leebron (ECF No. 82-

   10) seeking documents and communications regarding a published essay written by

   Ms. Boylan, communications between various individuals concerning allegations of

   sexual harassment against Cuomo, and documents concerning fundraising by Ms.

   Boylan related to allegations of sexual harassment against Cuomo.

          Trooper 1 seeks to quash certain aspects of these subpoenas to the extent that

   they seek evidence protected by Federal Rule of Evidence 412, which “aims to

   safeguard [alleged victims of sexual offenses] against the invasion of privacy, potential

   embarrassment and sexual stereotyping that is associated with public disclosure of

   intimate sexual details and to encourage victims of sexual misconduct to institute and to

   participate in legal proceedings against alleged offenders.” United States v. Frey, No. 19-

   CR-537 (DRH) (SIL), 2022 WL 2359665, at *4 (E.D.N.Y. June 30, 2022) (quotation marks

   and alteration omitted). The Boylan Document Subpoena, the Boylan Deposition

   Subpoena, the Zemsky Subpoena, and the Executive Chamber Subpoena are addressed

   above. To the extent that the permissible requests from those subpoenas implicate
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   information protected by Rule 412, the Court finds that the potential probative value of

   the requests, as narrowed, may outweigh the danger of harm to Ms. Boylan at this stage

   of the case, without prejudice to Plaintiff’s or Ms. Boylan’s rights to object to the use of

   any such evidence at trial. See Fed. R. Evid. 412. As to the remaining subpoenas

   included in Trooper 1’s motion for a protective order, the Court assesses whether the

   requests seek information about a purported victim’s sexual behavior and the potential

   probative value of the request substantially outweighs the danger of harm to the

   purported victim. In addition, at oral argument, Ms. Boylan objected to the provision of

   records as to certain of these subpoena requests on the same grounds on which she

   relies to object to the requests made in the Boylan Document Subpoena. The Court’s

   findings are as follows.

          1. “Lindsey for New York” Subpoena

          The “Lindsey for New York” Subpoena (ECF No. 82-7, No. 22-CV-893) contains

   four requests.

          1) Request 1 seeks documents and communications related to Ms. Boylan’s

   Medium Essay, including all drafts. Trooper 1 has not established that this request has

   any bearing on Ms. Boylan’s sexual behavior; accordingly, the Court does not find this

   request to implicate Rule 412. The Court notes that this request substantially overlaps

   with Request 6 of the Boylan Document Subpoena, and the Court found supra that

   Defendant Cuomo has not established that the request is relevant and proportional to

   the needs of this case. Accordingly, “Lindsey for New York” need not search for or

   produce documents as to this request.

          2) Requests 2–4 relate to documents and communications by or with specified

   individuals or journalists concerning allegations of sexual harassment or other

   misconduct against Defendant Cuomo. Plaintiff has not established how these requests
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   would tend to seek information pertaining to purported victims’ sexual behavior;

   accordingly, the Court does not find this request to implicate Rule 412. In addition, the

   Court notes that Requests 3 and 4 substantially overlap with Requests 4 and 9 of the

   Boylan Document Subpoena, and the Court found supra that Defendant Cuomo has not

   established that the request is relevant and proportional to the needs of this case;

   accordingly, “Lindsey for New York” need not search for or produce documents as to

   these requests. Request 2 substantially overlaps with Request 5 of the Boylan Document

   Subpoena; thus this Request is limited both as to which communications are included

   and to the relevant timeframe of December 1, 2020, through February 2022.

          2. Verizon Subpoena

          The Verizon Subpoena (ECF No. 82-9, No. 22-CV-893) requests subscriber

   information, length of service, call detail information, and detail information for text

   messages for Ms. Boylan’s telephone number, for the time period from January 1, 2020,

   to June 20, 2023, the date of the subpoena. Trooper 1 has not established that this

   subpoena implicates Rule 412; Rule 412 does not provide a basis to quash the Verizon

   Subpoena. Ms. Boylan, however, objects to this subpoena as unduly burdensome and

   overly intrusive. The Court concurs with Ms. Boylan that a phone records subpoena

   seeking over three years of phone records is intrusive, overly burdensome, and

   disproportionate to the needs of this case. At oral argument, the Court inquired as to

   whether there may be a narrower set of records, limited by date and party with whom

   Ms. Boylan was in contact, that may be relevant and proportional, and suggested that

   the parties should meet and confer on this issue. Upon further reflection, however, the

   Court finds that Cuomo has not, at this time, established the relevance and




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   proportionality of his request for production of phone records for Ms. Boylan, a non-

   party.7

             3. Cade Leebron Subpoena8

             The Cade Leebron Subpoena (ECF No. 82-10, No. 22-CV-893) contains three

   requests.

             1) Request 1 seeks documents and communications related to Ms. Boylan’s

   Medium Essay, including all drafts. Trooper 1 has not established that this request has




             The Court notes that, when pressed at oral argument as to the relevance of these
             7

   records, Cuomo principally relied on arguments concerning Ms. Boylan’s alleged
   communications with other non-parties and witnesses, and an alleged threat she sent to Mr.
   Zemsky. Further elaboration on the alleged threat and other messages, however, revealed that
   Ms. Boylan allegedly sent self-destructing and encrypted messages using an app, which will not
   be reflected in the Verizon phone records. Given the somewhat speculative nature of the
   arguable relevance, the intrusiveness of the request for over three years of records, the Court’s
   determination to require Ms. Boylan to produce relevant communications, and the burden that
   would be imposed on Ms. Boylan to search for and produce her phone records (which would
   likely require redaction pertaining to evidence of privileged attorney-client communications,
   irrelevant and private family communications, communications with any doctors or therapists,
   and the like), the Court concludes that, on balance, this request is not proportional to the needs
   of this case. See Fed. R. Civ. P. 26(b)(1) (providing, inter alia, that courts should consider “the
   parties’ resources, the importance of the discovery in resolving the issues, and whether the
   burden or expense of the proposed discovery outweighs its likely benefit”).

           Additionally, the Court finds that Ms. Boylan is “a non-party and discovery of h[er]
   phone number is an unnecessary intrusion into h[er] privacy.” Sapia v. Home Box Off., No. 18-
   CV-1317 (CM), 2022 WL 769798, at *7 (S.D.N.Y. Mar. 14, 2022) (citing Hernandez v. Immortal Rise,
   Inc., No. 11-CV-4360 (RRM) (LB), 2012 WL 4369746, at *9 (E.D.N.Y. Sept. 24, 2012) (discussing
   the privacy concerns related to disclosure of telephone numbers for non-parties)).
           8
             Although Ms. Leebron has not objected to the subpoena (and may not yet have been
   served the subpoena), Cuomo seeks the identical information from Ms. Leebron as from Ms.
   Boylan. Cuomo may not avoid compliance with the Court’s findings of relevance and
   proportionality as to information sought from one third-party by seeking it from yet another
   individual even further removed from the substance of the litigation. Ms. Boylan has a privacy
   interest in the information sought from Ms. Leebron. A non-subpoenaed party has standing to
   challenge a subpoena when the party “has a privilege, privacy[,] or proprietary interest in the
   documents sought.” Universitas Educ., LLC v. Nova Group, Inc., No. 11-CV-1590 (LTS) (HBP),
   2013 WL 57892, at *5 (S.D.N.Y. Jan. 4, 2013); see also Solow v. Conseco, Inc., No. 6-CV-5988 (BSJ)
   (THK), 2008 WL 190340, at *3 (S.D.N.Y. Jan. 18, 2008) (“[C]ourts have recognized that parties
   with a privacy interest in subpoenaed documents have standing to oppose the subpoena.”).


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   any bearing on Ms. Boylan’s sexual behavior; accordingly, the Court does not find this

   request to implicate Rule 412. In addition, this request substantially overlaps with

   Request 6 of the Boylan Document Subpoena and the Court found supra that Defendant

   Cuomo has not established that the request is relevant and proportional to the needs of

   this case. Accordingly, Cade Leebron need not search for or produce documents as to

   this request.

          2) Request 2 is for communications with specified individuals concerning

   allegations of sexual harassment or other misconduct against Defendant Cuomo.

   Plaintiff has not established how this request would tend to seek information pertaining

   to purported victims’ sexual behavior; accordingly, the Court does not find this request

   to implicate Rule 412. Request 2 substantially overlaps with Request 5 of the Boylan

   Document Subpoena; thus the relevant timeframe of December 1, 2020, through

   February 2022 applies to this request.

          3) Request 3 is for documents or communications concerning fundraising by

   Ms. Boylan’s political campaign relating to allegations of sexual harassment or other

   misconduct against Cuomo. Plaintiff has not established how this request would tend to

   seek information pertaining to purported victims’ sexual behavior; accordingly, the

   Court does not find this request to implicate Rule 412. While the parties and non-parties

   have not formally moved to quash this subpoena on grounds related to relevance and

   proportionality, the Court notes that this request substantially overlaps with Request 9

   of the Boylan Document Subpoena, and the Court found supra that Defendant Cuomo

   has not established that those requests are relevant and proportional to the needs of this

   case given Ms. Boylan’s status as a non-party; accordingly, Cade Leebron need not

   search for or produce documents as to these requests.

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                               Appendix: Subpoena Requests

   I. Boylan Document Subpoena (ECF No. 18-5, No. 23-MC-1587; ECF No. 82-3, No. 22-
      CV-893)

         1) All documents concerning (a) any of Your personal interactions with
   Governor Cuomo, and/or (b) any allegations of sexual harassment or other misconduct
   You have made against Governor Cuomo.

          2) All documents concerning the OAG Investigation, including but not limited
   to any communications between You and the OAG and any statements or documents
   You provided to the OAG.

         3) All documents concerning the AJC Investigation, including but not limited to
   any communications between You and the AJC and any statements or documents You
   provided to the AJC.

          4) All documents reflecting any communications between You and any Media
   Outlet or journalist, including but not limited to news outlets, newspapers, or social
   media platforms, concerning allegations of sexual harassment or other misconduct
   against Governor Cuomo.

           5) All documents reflecting communications with the Executive Chamber or any
   of its current or former employees, including Charlotte Bennett, Alessandra Biaggi,
   Brittany Commisso, Alyssa McGrath, Ana Liss and Kaitlin . . . , concerning Governor
   Cuomo, including allegations of sexual harassment or other misconduct against
   Governor Cuomo and any investigation of Governor Cuomo.

          6) All documents related to your February 2021 essay published on Medium
   entitled “My story of working with Governor Cuomo,” including all non-privileged
   drafts and communications concerning that essay.

         7) All communications with Karen Hinton concerning Governor Cuomo.

          8) For the period January 1, 2017 through the present, all communications with
   Howard Zemsky concerning: Governor Cuomo; Your personal relationship and/or
   sexual relationship with Howard Zemsky; and/or a meeting with Alphonso David in
   January 2018 concerning your relationship with Howard Zemsky.

          9) For the time period March 1, 2020 through the present, all documents
   concerning fundraising or other communications by Your campaigns relating to your
   allegations of sexual harassment or other misconduct against Governor Cuomo.

          10) For the time period March 13, 2020 through June 23, 2020, all communications
   concerning Governor Cuomo’s March 14, 2020 executive order temporarily modifying
   election procedures during the COVID-19 public health crisis.

         11) All communications with Governor Cuomo.



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          12) All documents and communications concerning your September 2018
   resignation from New York State employment, including those relating to meetings
   with Alphonso David, those regarding any effort or attempt by you to resign prior to
   that resignation, or those relating to documents you signed or were asked to sign in
   connection your resignation.

         13) All communications concerning workplace complaints about you during
   your employment by New York State and/or the Empire State Development
   Corporation.

          14) All communications concerning any effort or attempt by you to retain
   employment with the State of New York and/or Empire State Development
   Corporation following your September 2018 resignation, including communications
   with Stephanie Benton and/or Alphonso David.

        15) All documents and communications concerning the decision by Lupe Todd
   Medina to stop working for your campaign for Manhattan Borough President.

         16) All videos, images, or photographs of Governor Cuomo or of You with
   Governor Cuomo and any documents or communications concerning such videos,
   images, or photographs, including on social media.

   II. ESDC Subpoena (ECF No. 88-5, No. 22-CV-893)

          1) All Documents concerning the OAG Investigation or the AJC Investigation,
   including but not limited to any Communications (a) between You and the OAG and
   any statements or documents You provided to the OAG, and (b) between You and the
   AJC and any statements or documents You provided to the AJC.

         2) All Communications between Lindsey Boylan and Governor Cuomo.

         3) All Documents or Communications concerning any complaint by Ms. Boylan
   about Governor Cuomo.

          4) All Documents or Communications concerning a personal and/or sexual
   relationship between Ms. Boylan and Mr. Zemsky, including but not limited to:
   Communications in December 2017 where ESD employees attended a social event with
   Ms. Boylan and Mr. Zemsky; and/or Communications concerning how Ms. Boylan and
   Mr. Zemsky conducted themselves when together.

           5) All Documents or Communications concerning complaints about Lindsey
   Boylan’s conduct or performance at ESD, including but not limited to Documents
   sufficient to identify any ESD employees or consultants who complained about Ms.
   Boylan and the nature of those complaints.

        6) All Documents concerning ESD’s request to terminate Ms. Boylan or have her
   removed from ESD’s payroll in September 2018, including but not limited to
   Communications about terminating Ms. Boylan by or with Elizabeth Fine or Howard
   Zemsky.

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        7) All Documents concerning any effort or threat by Ms. Boylan to resign from
   New York State employment prior to September 2018.

         8) All Documents concerning Ms. Boylan’s resignation in September 2018.

        9) All Documents concerning any effort by Ms. Boylan to remain employed by
   New York State despite tendering her resignation in September 2018.

          10) To the extent not covered by any prior request, all Documents and
   Communications involving Lindsey Boylan concerning: allegations of sexual
   harassment or any other misconduct by Governor Cuomo; any references to Governor
   Cuomo’s appearance; any references to Governor Cuomo’s conduct towards Ms.
   Boylan; any complaints about the work environment at ESD or the Executive Chamber;
   Ms. Boylan’s travel aboard any flights with Governor Cuomo in October 2017; any
   meeting Ms. Boylan had with Governor Cuomo in December 2016 at the New York
   State Capitol; any event that Ms. Boylan attended at the Governor’s Mansion in Albany,
   New York, including in February 2018; Ms. Boylan praising or complimenting
   Governor Cuomo; and a January 2018 meeting with Alphonso David concerning the
   relationship between Ms. Boylan and Mr. Zemsky.

   III. Executive Chamber Subpoena (ECF Nos. 82-8, 88-6, No. 22-CV-893)

          1) All documents concerning the OAG Investigation, including but not limited
   to any communications between You and the OAG and any statements or documents
   You provided to the OAG.

         2) All documents concerning the AJC Investigation, including but not limited to
   any communications between You and the AJC and any statements or documents You
   provided to the AJC.

          3) All electronic communications by or with Brittany Commisso, for the
   following dates: December 31, 2019, November 16, 2020, November 19, 2020, December
   7, 2020, December 8, 2020, December 13, 2020, March 3, 2021, March 6, 2021, March 7,
   2021, and March 8, 2021.

         4) All electronic communications by or with Farrah Kennedy, Tracy Goodman,
   Alyssa McGrath, or Brittany Commisso concerning: (a) overtime assignments or
   scheduling at either the Capitol or the Mansion; and/or (b) allegations of sexual
   harassment or other misconduct by Governor Cuomo, including statements by Lindsey
   Boylan or Charlotte Bennett.

           5) All documents reflecting any communications by or with Lindsey Boylan
   concerning: Ms. Boylan’s personal and/or sexual relationship with Howard Zemsky;
   allegations of sexual harassment or any other misconduct by Governor Cuomo; any
   references to Governor Cuomo’s appearance, including calling him “handsome”; any
   references to Governor Cuomo’s conduct towards Ms. Boylan; any complaints about the
   work environment at ESD or the Executive Chamber; Ms. Boylan’s travel aboard any
   flights with Governor Cuomo in October 2017; any meeting Ms. Boylan had with
   Governor Cuomo in December 2016 at the New York State Capitol; any event that Ms.

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   Boylan attended at the Governor’s Mansion in Albany, New York in February 2018; Ms.
   Boylan praising or complimenting Governor Cuomo; Ms. Boylan’s September 2018
   resignation; Ms. Boylan’s efforts to keep her job after her resignation; efforts by Ms.
   Boylan to resign prior to September 2018; and/or a January 2018 meeting with
   Alphonso David.

         6) All communications between Lindsey Boylan and Governor Cuomo.

          7) All documents reflecting any communication by or with Howard Zemsky
   concerning: his personal and/or sexual relationship with Lindsey Boylan; allegations by
   Ms. Boylan of any misconduct or sexual harassment by Governor Cuomo; travel aboard
   any flights with Governor Cuomo in October 2017; complaints about Lindsey Boylan; a
   January 2018 meeting Howard Zemsky had with Alphonso David; and/or a January
   2018 meeting Lindsey Boylan had with Alphonso David.

         8) All documents concerning complaints regarding Lindsey Boylan while she
   was employed at ESD, including but not limited to all documents reflecting the names
   of ESD employees who complained about Ms. Boylan, the nature of those complaints,
   and the investigation or resolution of those complaints, if any.

         9) All documents concerning ESD’s request to have Ms. Boylan terminated from
   ESD or removed from ESD’s payroll in 2018, including but not limited to
   communications by or with Elizabeth Fine or Howard Zemsky and complaints
   concerning Ms. Boylan’s conduct.

          10) All documents concerning a January 2018 meeting between Alphonso David
   and Lindsey Boylan and/or Alphonso David and Howard Zemsky, in which Mr. David
   inquired about the relationship between Ms. Boylan and Howard Zemsky.

         11) All documents concerning Ms. Boylan’s resignation in September 2018.

          12) All documents concerning Ms. Boylan’s efforts to stay employed by New
   York State after resigning from employment in September 2018 and/or efforts to
   rescind that resignation.

         13) All documents concerning any attempt by Ms. Boylan to resign from New
   York State employment prior to September 2018.

         14) All documents or communications concerning Ms. Boylan and Mr. Zemsky’s
   personal and/or sexual relationship, including but not limited to communications in
   December 2017 where ESD employees attended a social event with Ms. Boylan and Mr.
   Zemsky, and/or communications concerning how Ms. Boylan and Mr. Zemsky
   conducted themselves when together.

          15) All images or videos from the following events at which Governor Cuomo
   attended: a. December 12, 2016 fundraising event hosted by a lobbying firm; b. May 14,
   2017 event at the New York State Department of Environmental Conservation’s Salmon
   River Fish Hatchery; c. December 2017 holiday party for Executive Chamber employees;
   d. February 12, 2018 reception at the Executive Mansion; e. December 2018 holiday

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   party for Executive Chamber employees; f. September 14, 2019 event for Revive Mother
   Nature Initiative at New York City Hudson River Park; g. September 23, 2019 Belmont
   arena groundbreaking ceremony; h. December 2019 holiday party for Executive
   Chamber employees; i. December 30, 2020 opening of the Moynihan Hall in New York
   City; j. Holiday parties at the Executive Mansion for members of the New York State
   Police Protective Services Unit for the years 2016, 2017, 2018, 2019 and 2020.

   IV. Zemsky Subpoena (ECF Nos. 82-6, 88-7, No. 22-CV-893)

          1) All Documents or Communications concerning Lindsey Boylan’s February
   2021 essay published on Medium entitled “My story of working with Governor
   Cuomo.”

         2) All Communications concerning any allegations of sexual harassment or
   other misconduct made against Governor Cuomo.

          3) All Communications concerning your personal and/or sexual relationship
   with Lindsey Boylan, including, but not limited to: any January 2018 meeting with
   Alphonso David in which Your relationship with Ms. Boylan was discussed, any
   January 2018 meeting between Ms. Boylan and Alphonso David in which Your
   relationship with Ms. Boylan was discussed; and any personal meetings with Lindsey
   Boylan outside the ESD workplace.

          4) All Communications concerning complaints about Ms. Boylan’s conduct
   while employed at ESD.

          5) All Documents or Communications concerning any contributions by You,
   Your family members or Your business to Lindsey Boylan’s 2020 and 2021 campaigns
   for U.S. Congress and/or Manhattan Borough President.

         6) All Documents or Communications concerning the OAG Investigation, OAG
   Report, AJC Investigation, and AJC Report, including any documents you provided to
   the OAG or AJC.

   V. Elizabeth Fine Subpoena (ECF No. 88-8, No. 22-CV-893)

          1) All Documents or Communications concerning: a. a sexual relationship, or
   allegations of a sexual relationship, between Mr. Zemsky and Ms. Boylan; b. formal or
   informal complaints about Ms. Boylan’s conduct while she was employed at ESD; c. any
   recommendation to terminate Ms. Boylan from ESD or ESD’s payroll, including any
   meetings relating to that topic; d. Ms. Boylan’s resignation, attempted resignation, or
   threatened resignation from ESD or the Executive Chamber, including but not limited
   to Ms. Boylan’s September 2018 resignation.

         2) For the period December 1, 2017 through the present, all Documents or
   Communications concerning: a. a January 2018 meeting between Mr. Zemsky and Mr.
   David concerning Ms. Boylan’s relationship with Mr. Zemsky; b. a January 2018
   meeting between Ms. Boylan and Mr. David concerning Ms. Boylan’s relationship with
   Mr. Zemsky.

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   VI.“Lindsey for New York” Subpoena (ECF No. 82-7, No. 22-CV-893)

          1) All Documents or Communications concerning Lindsey Boylan’s February
   2021 essay published on Medium entitled “My story of working with Governor
   Cuomo,” including all drafts.

         2) All communications with by or with [sic] Lindsey Boylan, Karen Hinton,
   Cade Leebron, Charlotte Bennett, Ana Liss, Kaitlin . . . , Alessandra Biaggi, Tripp Yang,
   or Lupe Todd Medina, concerning any allegations of sexual harassment or other
   misconduct made against Governor Cuomo.

         3) All Documents or Communications concerning fundraising by Lindsey
   Boylan’s campaign for Manhattan Borough President relating to allegations of sexual
   harassment or other misconduct against Governor Cuomo.

          4) All documents reflecting any communications between You and any Media
   Outlet or journalist, including but not limited to news outlets, newspapers, or social
   media platforms, concerning allegations of sexual harassment or other misconduct
   against Governor Cuomo.

   VII.      Verizon Subpoena (ECF No. 82-9, No. 22-CV-893)

         Provide the following records and information associated with the following
   phone number for the period January 1, 2020 through the present: [Ms. Boylan’s
   telephone number]

         1) All subscriber identifying information, including, but not limited to, name(s),
   address(es), date of birth, email addresses, and secondary telephone number;

          2) Length of service, including the date the account was established and the date
   the account was disconnected, if applicable;

          3) All call detail information, including but not limited to, call history, local,
   long distance and toll records, including incoming and outgoing calls; and

          4) All detail information for text messages, including timing and numbers
   associated with incoming and outgoing text messages.

   VIII.      Cade Leebron Subpoena (ECF No. 82-10, No. 22-CV-893)

          1) All Documents or Communications concerning Lindsey Boylan’s February
   2021 essay published on Medium entitled “My story of working with Governor
   Cuomo,” including all drafts.

         2) All Communications with Lindsey Boylan, Karen Hinton, Charlotte Bennett,
   Ana Liss, Kaitlin . . . or Alessandra Biaggi concerning any allegations of sexual
   harassment or other misconduct made against Governor Cuomo.




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         3) All Documents or Communications concerning fundraising by Lindsey
   Boylan’s campaign for Manhattan Borough President relating to allegations of sexual
   harassment or other misconduct against Governor Cuomo.




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